Case: 4:17-mc-00192-RWS Doc. #: 12 Filed: 01/28/20 Page: 1 of 2 PageID #: 115




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DMSION


  INRE:                                            )
                                                   )
  ELBERT A.WALTON, JR.,                            )                    4:17-MC-192 RWS

                                             ORDER
         This Court has been advised by receipt of a certified copy of the Decemba- 24, 2019 final

  order of discipline of the Supmne Court of Missouri, entered in In re: Elbert A. Waltoa, Jr.,

  Cause No. SC98 l 85, that Elbert A. Walton, Jr., has been disbarred from the practice of law by

  the Supreme Court of Missouri [Doc. #11].

         On May 19, 2017, Mr. Walton was suspended from the roll of attorneys authorized to

  practice law in the United States District Court for the Eastern District of Missouri. This Court

  now finds that the identical discipline ordered by the Supreme Court of Missouri should be

  imposed on Elbert A. Waltoa, Jr., pursuant to the rules of this Court.

         Accordingly,

         IT IS HEREBY ORDERED that Elbert A. Walton, Jr. is disbarred and that his name

  be stricken from the roll of attorneys authori7.ed to practice law in the United States District Court

  for the Eastern District of Missouri.

         Dated this   2.£ ~ day of January, 2020.
Case: 4:17-mc-00192-RWS Doc. #: 12 Filed: 01/28/20 Page: 2 of 2 PageID #: 116




Judge Stephen R. Clark                            Judge Sarah E. Pitlyk



Senior Judge E. Richard Webber                    Senior Judge Charles A. Shaw



Se1€pr Judge Jean C. Hamilton                     sf~rin~~




Cause No. 4:l 7-MC-192 RWS, In re: Elbert A. Walton, Jr., page 2 of 2. (January 2020)
